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                   EXHIBIT A
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  From:              James Kolenich
  To:                Michael Bloch
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                     KarenD@vawd.uscourts.gov
  Subject:           Re: Sines v. Kessler, Case No. 17 Civ. 72
  Date:              Friday, October 18, 2019 9:07:34 AM


 Dear Judge Hoppe,

 Mr. Cantwell has fired Mr. Woodard and myself. He did so by e-mail on October 8,
 2019. I have advised him of today's hearing and call-in information but only did so this
 morning. I request, time permitting, that the motion to withdraw from defendants Ray
 and Cantwell be taken up today.

 Respectfully,

 Jim Kolenich

 On Wed, Oct 16, 2019 at 11:16 PM Michael Bloch <mbloch@kaplanhecker.com> wrote:

    Dear Judge Hoppe,

        In anticipation of the Court conference scheduled for this Friday, we write to update the
    Court on the parties’ progress in discovery. In short, despite Plaintiffs’ persistent inquiries
    and multiple Court orders, Defendants individually and collectively have a long way to go to
    achieve anything close to full compliance with their discovery obligations. Although
    Plaintiffs have finally received partial production from certain Defendants since Plaintiffs
    requested this conference on September 17, not a single Defendant has provided all
    outstanding electronic devices and account credentials that contain relevant content to the
    third-party vendor, let alone reviewed and produced the documents contained within those
    accounts and devices, and some Defendants still have not produced a single document. We
    outline below each Defendants’ document discovery deficiencies. Additionally, we briefly
    address the pending motions, which we hope to discuss on Friday as well.

    Defendant Document Discovery

          The following details the status of each Defendant’s document production:

          • Elliot Kline – As discussed in Plaintiffs’ pending motion for sanctions, Defendant
             Kline has not produced a single document to Plaintiffs. Indeed, Defendant Kline has
             not provided access to a single electronic device or account credential to the third-
             party vendor.

          • Vanguard America – Vanguard America has not produced a single document to
             Plaintiffs. During Dillon Hopper’s court-ordered deposition in August, Plaintiffs
             learned about various social media accounts and devices that had not been previously
             disclosed, including Mr. Hopper’s Gab account. See Hopper Depo. Tr., 107-108.
             While Mr. Hopper subsequently disclosed certain social media accounts to the third-
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          party vendor, he failed to provide accurate account credentials to the vendor, making
          it impossible for many of his social media accounts to be imaged. Mr. Hopper did
          authorize the third-party vendor to image Vanguard America’s Twitter accounts and
          Mr. Hopper’s Discord account, but Plaintiffs have not received any documents from
          those accounts. Additionally, while Mr. Hopper provided a cell phone to the vendor to
          be imaged, the phone he provided appears to have been factory reset and cannot be
          imaged, and he has thus far withheld a second phone entirely.

      •   Jeff Schoep – Defendant Schoep has not produced a single document to Plaintiffs.

      • National Socialist Movement (NSM) – As detailed in Plaintiffs’ pending Motion to
          Compel Defendant National Socialist Movement to Disclose Custodians of
          Discoverable Documents and Information (ECF 547), Plaintiffs have not received any
          documents from NSM, nor has NSM identified accounts and devices of custodians of
          documents beyond Defendant Schoep.

      •   Matthew Heimbach – Plaintiffs have received a total of 16 documents from
          Defendant Heimbach, many of which have little to do with Charlottesville. To date,
          the third-party vendor cannot access content from the following electronic accounts
          belonging to Defendant Heimbach: Gab, Signal, Skype or the internal ticket system on
          the TWP website. Plaintiffs understand that the vendor has completed a collection of
          Defendant Heimbach’s email account and his cell phone, but Defendant Heimbach
          has not produced any documents from those collections. In any event, Defendant
          Heimbach conceded that the phone he provided the vendor contains no responsive
          content. Plaintiffs ascertained during Defendant Heimbach’s court-ordered deposition
          that multiple electronic devices that once contained responsive documents were
          destroyed or lost.

      • Christopher Cantwell – Plaintiffs have received a partial production from Defendant
          Cantwell. However, the vendor has not been able to collect content from the following
          social media accounts and websites identified as containing relevant content because
          Defendant Cantwell has not provided accurate credentials: Gab, Facebook, uStream,
          and certain Websites (christophercantwell.com, radicalagenda.com).

      •   Jason Kessler – Plaintiffs have received a partial production from Defendant Kessler.
          However, the vendor has been unable to collect content from the majority of
          Defendant Kessler’s social media accounts because he has not provided the vendor
          with correct account credentials. Plaintiffs are still seeking responsive content from
          the following accounts, identified as containing relevant content: Twitter
          (themaddimension@gmail.com), Email (jason@unityandsevurity.org), Facebook
          (ChedCheese, broadswordmcqueen), Gab (themaddimension), Instagram (Jason
          Kessler, themaddimension), Reddit (Darksighed, wahooserious), and VK.

      •   Nathan Damigo – Plaintiffs have received a partial production from Defendant
          Damigo. However, Defendant Damigo has not provided account credentials to the
          following accounts, identified as containing relevant content: Youtube, Slack,
          Facebook, Email (Nathan.damigo@identityevropa.com).

      •   Identity Evropa (IE) – Beyond Defendant Damigo’s partial production, IE has not
          produced any documents to Plaintiffs and continues to withhold account credentials
          from numerous social media accounts. On September 3, 2019, Mr. Kolenich indicated
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          that Patrick Casey, a custodian of IE documents, would comply with Plaintiffs’
          subpoena and discovery requests by September 5, 2019. To date, Plaintiffs have
          received no documents from Mr. Casey. (While Plaintiffs have obtained documents
          generated by Mr. Casey from third-party Discord, Mr. Casey appears to have shut
          down multiple Discord servers, so the production of Mr. Casey’s documents from
          Discord is undoubtedly incomplete.)

      • Matthew Parrott – Plaintiffs have received a partial production from Defendant
          Parrott, but he continues to withhold information required by the vendor to recover
          content from various accounts identified as containing relevant content: Facebook
          (edruben1948@gmail.com, parrottmatt@gmail.com), Gab (@mattparrott,
          parrott.matt@gmail.com), Minds, and Signal.

      • Michael Hill, Michael Tubbs and League of the South (LOS) – Plaintiffs have
          received partial productions from Defendants Hill and Tubbs, although each defendant
          identified multiple accounts with relevant content that still has not been collected by
          the vendor. For Defendant Hill, the following accounts have not been collected:
          Facebook (Michael Hill, League of the South, and Michael Hill ID:
          1000027890145135), Twitter (Twitter @MickCollins1951; @51CeannCinnidh;
          @71Rhodie; @JamesHill120651; @BigChief1951; @Michaelhill51). For Defendant
          Tubbs the following accounts and account credentials remain outstanding: Proton
          Mail Account (LSCoC@protonmail.com) and Facebook (Mike Sable; Michael
          Tubbs).

      •   Robert “Azzmador” Ray – Plaintiffs have received a partial production from
          Defendant Ray. However, Plaintiffs understand that Defendant Ray’s collection does
          not include any content from the following accounts, identified as containing relevant
          content: Gab, Krypto Report, Twitter, and the Daily Stormer website. Additionally,
          Defendant Ray claimed to have sent a second laptop to the third-party vendor
          sometime last spring, but the vendor never received any such device. Defendant Ray
          has reportedly stopped cooperating altogether.

      • Traditionalist Worker Party (TWP) – Apart from Defendants Heimbach’s and
          Parrott’s deficient partial productions, TWP has not provided devices or working
          account credentials to the vendor. There are obvious custodians of critical TWP
          documents who have expressly chosen gamesmanship over cooperation. Tony
          Hovater, who signed discovery responses on behalf of TWP and generated material
          documents related to Unite the Right, initially indicated he would produce his
          documents after repeated inquiries by Plaintiffs. Then, inexplicably, on September 9,
          Mr. Kolenich informed Plaintiffs that Mr. Hovater “reversed himself and refuses to
          cooperate any further with discovery” and resigned from TWP. In addition to TWP’s
          failure to produce any documents from custodians other than Defendants Parrott and
          Heimbach, TWP continues to withhold other responsive content. TWP still has not
          produced documents from the following social media accounts: Gab, VK,
          “Tradworker” email accounts/ticket system, and Twitter. Plaintiffs are not aware of
          any steps taken by TWP to provide the third-party vendor with access to these
          accounts.

      • Richard Spencer - Defendant Spencer has produced a large volume of documents,
          more than 250,000. Plaintiffs understand that this collection does not include content
          from Defendant Spencer’s Facebook, Instagram and Twitter accounts. Based on an
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            August 29, 2019 email from Mr. DiNucci, Plaintiffs understand that Defendant
            Spencer is working with the third-party vendor to produce content from these
            accounts.

   Pending Motions

      Plaintiffs additionally hope to discuss with Your Honor the status of the following
   pending motions:

        • Plaintiffs’ Motion to Enjoin Defendant Cantwell from Making Unlawful Threats
            Against Plaintiffs and Plaintiffs’ Counsel (ECF No. 511, 523, 532, 546, 560, 561).
            Plaintiffs believe this motion is fully briefed, and we are not seeking a hearing on the
            matter. In light of apparent ongoing volatile comments and behavior from Mr.
            Cantwell, including, for example, his announcement on social media last week that he
            brought a gun to a movie theater (which attracted the attention of local law
            enforcement), Plaintiffs are eager for a resolution of this motion.

        •   Plaintiffs’ Motion to Compel Defendant National Socialist Movement to Disclose
            Custodians of Discoverable Documents and Information (ECF No. 547). While the
            time to oppose this motion has expired, Mr. ReBrook recently indicated he may make
            Mr. Colluci available for a deposition, an apparent concession of one aspect of the
            relief sought by Plaintiffs. Plaintiffs would like to ascertain Mr. ReBrook’s position
            on the motion, so that we can move forward with Mr. Colluci’s deposition if
            appropriate.

        • Plaintiffs’ Motion for Sanctions against Defendant Elliot Kline A/K/A Eli Mosley
            (ECF No. 565). Defendant Kline’s time to respond to this motion has expired and
            Plaintiffs do not seek further hearing on this matter at this time.

   Respectfully submitted,
   Michael Bloch | Kaplan Hecker & Fink LLP
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